UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA

V. CRIMINAL COMPLAINT

CASE NUMBER: 21-M- (2 (-2.
JESSE A. GRIGON

(DOB: XX/XX/1985)

|, Sarah M. Deamron, the undersigned complainant, being duly sworn, states the following is
true and correct to the best of my knowledge and belief:

That between on or about January 1, 2021 and on or about January, 2021, while within the exterior
boundaries of the Menominee Indian Reservation in the State and Eastern District of Wisconsin,
Jesse A. Grignon committed, or aided and abetted the commission of, Physical Abuse of a Child in
violation of Title 18, United States Code, Sections 1153(a) and 2, and Wisconsin Statutes Section
948.03(2)(b) 4; and

That between on or about November 1, 2020, and on or about January 4, 2021, while within the
exterior boundaries of the Menominee Indian Reservation in the State and Eastern District of
Wisconsin, Jesse A. Grignon committed, or aided and abetted the commission of, Neglect of a Child
in violation of Title 18, United States Code, Sections 1153(a) and 2, and Wisconsin Statutes Sections
948.21(2)(g) and (3)(e)1.

| further state that | am a Special Agent with the Federal Bureau of Investigation, and this
complaint is based on the following facts:

Please see the attached affidavit.

Continued on the attached sheet and made a part hereof: _X Yes __ No

Veer @ UZS9m
Signature of Complainant

_ SA Sarah M. Deamron

Sworn to before me and subscribed in my presence,

 

{co exe “Dl at Green Bay, Wisconsin —

Date, City and State Ph ition

The Honorable James R. Sickel
United States Magistrate Judge

 

Name & Title of Judicial Officer

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WISCONSIN

AFFIDAVIT IN SUPPORT OF A
CRIMINAL COMPLAINT AND ARREST WARRANT

1, Iam a Special Agent with the Federal Bureau of Investigation, and have been since
June 2015, Upon graduation from the FBI Academy in Quantico, Virginia, I was assigned to the
Milwaukee Division, Green Bay Resident Agency. While at this duty station I am assigned to work
cases involving violent crimes in include assaults and homicide. I have worked as the primary
Indian Country agent for the Green Bay Resident Agency since 2016, focusing on violations of
the Major Crimes Act that occur on the Menominee Indian Reservation, as well as other violations
of federal law that occur in the Eastern District of Wisconsin. As a Special Agent of the Federal
Bureau of Investigation, I am authorized to investigate violations of the criminal laws of the United
States and am a law enforcement officer with the authority to execute warrants issued under the
authority of the United States,

2. Along with officers of the Menominee Tribal Police Department, I investigated the
physical abuse of a two-and-a-half-year-old male Native American Indian child on Menominee
Indian Reservation. That child is hereafter identified as Minor Victim 1 (“MV1”), The
investigation revealed bruises and pattern injuries all over the body of the child, which were caused
between December 31, 2020 and January 3, 2021. The injuries were inflicted while the child was
at a residence in Middle Village, which is within the exterior boundaries of the Menominee Indian
Reservation in the Eastern District of Wisconsin. The injuries were inflicted by Jesse A. Grignon
(XX/XX/1985) and Summer R. White (XX/XX/1998), who are each Native American Indians.
Further investigation led to the removal of an 18-month old child common to Grignon and White,
which tested positive for methamphetamine, nicotine, caffeine, and. That child is hereafter

identified as Minor Victim 2 (“MV2”).

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3, This affidavit is being submitted for the limited purpose of a criminal complaint.
Because this affidavit is being submitted for the limited purpose of establishing probable cause for
a criminal complaint, I have not included every detail of this investigation, Rather, I have set forth
only those facts necessary to establish probable cause. The information contained in this affidavit
is based upon my personal knowledge, my review of documents and other evidence, and my
conversations with other law enforcement officers, all of whom I believe to be truthful and reliable,

4. I respectfully submit that there is probable cause to believe that, as relates to Minor
Victim 1, Jesse A. Grignon and Summer R. White committed, and aided and abetted the
commission of, violations of Title 18, United States Code, Sections 1153(a) and 2; and Wisconsin
Statutes, Section 948.03(2)(b). As relates to Minor Victim 2, Jesse A. Grignon and Summer R.
White committed, and aided and abetted the commission of, violations of Title 18, United States
Code, Sections 1153(a) and 2; and Wisconsin Statutes, Sections 948.21(2)(g) and (3)(e)1. Both of
these crimes have maximum penalties in excess of one year.

PROBABLE CAUSE

5. On or about December 29, 2020, the parents of Minor Victim 1 (DOB 6/7/2018)
made arrangements via text message and Facebook messenger for Minor Victim 1 to stay the night
at the residence of Jesse A. Grignon (DOB XX/XX/1985) and Summer R. White (DOB
XX/XX/1998), located in Middle Village on the Menominee Indian Reservation, It is common for
MV1 to stay the night with Grignon and White, who have a son similar in age to MV1. Grignon,
White, and MV1’s parents are all American Indian, as is MV1.

6. MV1’s parents drove MV 1 to Grignon’s residence and dropped him off. When they
dropped MV1 off he had a small, nearly healed, bruise on his forehead which occurred on a prior

date. According to MV1’s parents, the pre-existing bruise on MV1’s forehead came when he

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attempted to climb up the side of a refrigerator and fell. MV1 also had a small pre-existing scratch
on his chest but had no other injuries. On December 31, 2020, MV1’s father stopped at Grignon’s
house to drop off diapers for MV1. MV1’s father asked MV1 if he wanted to come home. MV1
said he wanted to stay. At that time MV1’s father did not observe any bruising to MV1’s body or
notice any change in his behavior.

7, That evening Grignon and White contacted MV1’s father and asked if it would be
ok to take MV1 to a hotel for the night to celebrate the new year. MV 1’s parents agreed and offered
to take both MV1 and MV2 so Grignon and White would have the night to themselves, Grignon
and White declined.

8. From January 1, 2021 to January 3, 2021, MV1’s parents attempted to contact
Grignon and White through Facebook and text message, Grignon and White did not reply to any
communication, On January 3, 2021, having made no contact with Grignon or White for 3 days,
MV1’s father went to Grignon’s residence to pick up MV1. MV1’s father knocked on the door for
several minutes with no answer. MV1’s father then left and returned home.

9, MVI1’s parents also reside with a third adult female. At approximately 8:00 pm on
January 3, 2021, that woman stopped at Grignon’s home. White answered when she knocked on
the door. MV1 ran to the woman and appeared anxious to leave the home. MV1 was wearing a
full pajama zip up, covering his body. The woman noted a large bump and bruise on MV1’s
forehead. White told the woman MV1 ran into the bathroom doorknob.

10. The woman returned home with MV1. Upon entering the home, MV1 began taking
his clothing off. MV1’s parents immediately noted several bruises on MV1’s body. MV1’s parents
took him to a back bedroom and removed his clothing. MV1 had numerous bruises covering his

head, arms, hands, torso, back, legs, feet, buttocks, and genitals. MV1’s parents immediately took

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MV 1 to ThedaCare Hospital located in Shawano, Wisconsin, At the hospital nurses contacted the
Stockbridge Munsee Tribal Police to report suspected child abuse. An officer with that department
arrived, observed the injuries covering MV1’s body and took an initial report.

11. Due to MVI’s extensive injuries he was transferred to the Children’s Hospital of
Wisconsin, which is located at ThedaCare Medical Center in Neenah, Wisconsin. While at the
hospital MV1’s father contacted Grignon via Facebook to ask what happened to MV1. Grignon
stated MV1 went sledding and fell in the shower which caused some of the bruises on his body.
Grignon could not explain all of the bruises and denied physically harming MV1.

12, On January 4, 2021, MV1 was examined by Grethel Hokenson, an Advanced
Practice Nurse Practitioner (APNP) at Children’s Hospital of Wisconsin who specializes in the
evaluation of physical and sexual abuse of children. APNP Hokenson identified multiple bruising
to the body described as “too numerous to count” caused by inflicted blunt force trauma. APNP
Hokenson noted numerous scratches and several linear marks she referred to as “tramline injuries”
that are caused by a switch-like object. An examination of Minor Victim 1’s mouth revealed a torn
frenulum, which is the tissue connecting the inner potion of the lip and gums. I also observed
bruises and marks on the entirety of MV1’s body, including several which, based on my training
and experience, are consistent with MV1 being struck by an adult hand and an unknown object.

13. Because of the reported abuse of MV1, Menominee Tribal Child Protective
Services (CPS) initiated an investigation into treatment of MV2, who lives with Grignon and
White, On January 4, 2021, a social worker from Menominee Tribal CPS, accompanied by officers
with the Menominee Tribal Police Department, visited the Grignon and White residence in Middle
Village on the Menominee Indian Reservation. Menominee Tribal CPS removed MV2 from the

home after officers observed methamphetamine and paraphernalia used to ingest

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methamphetamine, MV2 was taken to the emergency department at St. Vincent Hospital in Green
Bay for an evaluation, and a urine drug test confirmed positive for methamphetamine,
amphetamine, cotinine and caffeine. On January 12, 2021, MV2 was examined by Jennifer Yates,
an Advanced Practice Nurse Practitioner at Willow Tree Cornerstone Child Advocacy Center in
Green Bay. APNP Yates specializes in evaluating cases of reported child abuse and neglect, and
indicated her opinion that MV2 had no concerning physical injuries. However, APNP Yates stated,
based on her training and experience, MV2 was at a substantial risk for harm as a result of his
exposure to methamphetamine, Yates stated that children such as MV2 are at particular risk from
exposure to drugs because of their physical make-up. This is due to higher metabolic rates than
adults, and underdeveloped central nervous systems compared to adults. These combine to cause
drugs to have a greater and more rapid effect on children than adults. The long-term effects of
methamphetamine exposure in children include lung, nerve, and brain damage.

14. T reviewed, pursuant to a search warrant authorized on January 22, 2021, Facebook
account records for an account associated with Jesse Grignon. In those records, which contain
Facebook content from November 1, 2020 to approximately January 22, 2021, Grignon and White
engage in nearly constant communication with each other and with persons known and unknown
to me to obtain methamphetamine and other controlled substances. The two discuss their intent to
purchase and use methamphetamine at their residence throughout this period, and I know from
interviews of both Grignon and White that MV2 was living with them throughout this period as
well,

15. Based on the foregoing, I submit that there is probable cause to issue a criminal
complaint and arrest warrant for as relates to Minor Victim 1, Jesse A. Grignon and Summer R.

White committed, and aided and abetted the commission of, violations of Title 18, United States

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Code, Sections 1153(a) and 2; and Wisconsin Statutes, Section 948.03(2)(b). As relates to Minor
Victim 2, Jesse A, Grignon and Summer R. White committed, and aided and abetted the
commission of, violations of Title 18, United States Code, Sections 1153(a) and 2; and Wisconsin

Statutes, Sections 948.21(2)(g) and (3)(e)1.

Respectfully Submitted,

   
   
  

FRI SA I/zs121@

Ss M. DEAMRON 4b 239m
Special Agent

Federal Bureau of Investigation

  

Subscribed and sworn 9G
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